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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
JAMES E. PIETRANGELO, II                   )
                                           )
                        Plaintiff,        )  Judge Dabney L. Friedrich
                                           )
            v.                             ) Civil Action No. 1:18-cv-01943-DLF
                                           )
REFRESH CLUB, INC. (dba THE WING), and     )
THE WING DC, LLC (dba THE WING aka         )
THE WING DC)                               )
                                           )
                        Defendants.       )
__________________________________________)

                              SUPPLEMENTAL DECLARATION
                          OF PLAINTIFF JAMES E. PIETRANGELO, II
                            IN SUPPORT OF HIS OPPOSITION TO
                            DEFENDANTS’ MOTION TO DISMISS

       I, James E. Pietrangelo, II, hereby state as follows:

       1.         I am over the age of 18, suffer no legal disabilities, and am a legal resident of the

State of Ohio.

       2.         I have personal knowledge of the facts herein and am competent to testify as to all

matters herein.

       3.         I am the Plaintiff in the above-captioned case, and I am making this Supplemental

Declaration in support of my Memorandum in Opposition to Defendant’s September 26, 2018

Motion to Dismiss, but only so far as my Memorandum opposes Defendants’ 12(b)(1) factual

challenge(s) to my complaint.

       4.         I am making this Supplemental Declaration due to the length of time that has passed

since the original briefing on the motion to dismiss.

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           5.       To date, since June 5, 2018, I still have not received any email or any other type of

notice or communication from The Wing/The Wing DC stating or indicating that I have been

granted membership to The Wing/The Wing DC or that I may enjoy or access or use The Wing’s/

The Wing DC’s accommodations. Thus, for more than 11 months now (and counting) in total,

while The Wing has continued to operate and to grant membership and access to women, I have

been denied membership and access to The Wing/The Wing DC by The Wing under The Wing’s/

The Wing DC’s employees’ original statements to me on June 5, 2018, that as a matter of policy of

The Wing I would automatically be denied membership by The Wing simply because I am a man

and that The Wing would deny me membership by permanently deferring and thus never granting

my application for membership.

           6.       To date, since June 5, 2018, The Wing has also continued to regularly make, and thus

has continued to regularly subject me to, various public policies, statements, and portrayals of

discrimination, exclusion, stereotyping, demeaning, degrading, disparaging, and objection to/of/

against men—including those public policies, statements, and portrayals identified in Plaintiff ’s

previously-filed four Motions for Judicial Notice, which are fully incorporated herein. Thus, for

more than 11 months now (and counting) in total, I have been made by The Wing to literally feel

like a second-class citizen and demeaned in my person. As a result, I have felt and feel

embarrassment, humiliation, and indignity.



           Pursuant to 28 U.S.C.§ 1746, I declare under penalty of perjury that the foregoing is true and

correct.

Executed on this 14th day of May 2019.                    /s/ James E. Pietrangelo, II
                                                          _________________________
                                                          JAMES E. PIETRANGELO, II




                                                      2
